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UNITED STATES DISTRICT COURT
_ WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
REBEL HAYS,
Plaintiff,
Case No. 1:15-cv-00681

Vv.

TRANSWORLD SYSTEMS, INC.,

Defendant.
/

STIPULATION FOR DISMISSAL
IT IS HEREBY STIPULATED by and between the parties that this matter is

dismissed with prejudice and without costs or attorney fees.

 

 

 

/s/Rebel Hays /s/Deborah A. Lujan

REBEL HAYS DEBORAH A. LUJAN (P46990)
In Pro Per Attorney for Defendant

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Dated: October 4, 2016
